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                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                          Plaintiff,
                                                                              8:14CR156
        vs.
                                                               FORFEITURE MONEY JUDGMENT
KEVIN ADKINS,

                          Defendant.



        This matter is before the Court on the Plaintiff’s Motion for a Forfeiture Money Judgment in

the amount of $100,000.00 (Filing No. 143). Having reviewed the motion and the record, the Court will

grant the Plaintiff’s motion.

        IT IS ORDERED:

        1. The Plaintiff’s Motion for a Forfeiture Money Judgment is hereby sustained.

        2. The Defendant, Kevin Adkins, pursuant to 21 U.S.C. §§ 853(a)(1) and (a)(2) and Fed. R.

              Crim. P. 32.2(b)(2), shall be, and hereby is, liable for a forfeiture money judgment in the

              amount of $100,000.00.

        3. Upon entry of this order, it shall become a final order of forfeiture as to this defendant.

        4.    The Court retains jurisdiction to address any third party claim that may be asserted in these

              proceedings, to enter any further order necessary for the forfeiture and disposition of such

              property, and to order any substitute assets forfeited to the United States up to the amount of

              the forfeiture money judgment.

              DATED this 23rd day of March, 2015.

                                                            BY THE COURT:

                                                            s/ Joseph F. Bataillon
                                                            Senior United States District Judge
